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Case 2:09-cv-04231-SJO-PLA Document1 Filed 06/12/09 Page1lof9 Page ID#:1

Richard K. Gustafson (Bar No. 193914)
Legal Helpers, P.C.

233 S. Wacker Drive, Suite 5150
Chicago, IL 60606

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Tel: 1.866.339.1156 ; 8 B
Fax: 1.312.822.1064 ax
Email: rkg@legalhelpers.com Sie 2
sas = —
Attorney for Plaintiff a nO
UNITED STATES DISTRICT COURT zoe =
CENTRAL DISTRICT OF CALIFORNIA | "05 @
SOUTHERN DIVISION 2 g
Tanya Johnson Case No.:
146 S Main St, Suite L215 ©V09-04231 SJO (PLAx)
Orange, CA 92868
Judge:
Plaintiff,
COMPLAINT FOR DAMAGES
v. UNDER THE FAIR DEBT

Delanor, Kemper & Associates, LLC
c/o Wilton K Caver, Registered Agent
2221 Peachtree Rd, #437, Suite D
Atlanta, GA 30309

Defendant.

 

COLLECTION PRACTICES ACT,
ROSENTHAL FAIR DEBT
COLLECTION PRACTICES ACT, AND
OTHER EQUITABLE RELIEF

JURY DEMAND ENDORSED HEREIN

 

 

 

JURISDICTION AND VENUE
1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices
Act (FDCPA), 15 U.S.C. §1692 and under the doctrine of Supplemental Jurisdiction pursuant
to 28 U.S.C. §1367(a). Venue is proper because a substantial part of the events giving rise to
this claim occurred in this judicial district.

FACTS COMMON TO ALL COUNTS

Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

Complaint - |

 

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Case 2:09-cv-04231-SJO-PLA Document1 Filed 06/12/09 Page 2of9 Page ID#:2

At the time of the communications referenced herein, Defendant either owned the debt or
was retained by the owner to collect the debt.

Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

Plaintiff filed this claim within the timeframe permitted under the FDCPA.

In or around October 2008, Defendant telephoned Plaintiff at Plaintiff's place of
employment.

During this communication, Plaintiff notified Defendant that Plaintiff's employer prohibits
Plaintiff from receiving Defendant’s phone calls at Plaintiff's place of employment.

During this communication, Plaintiff notified Defendant that Defendant’s telephone calls to
Plaintiff's place of employment were inconvenient for Plaintiff.

Despite Plaintiff's notice, Defendant telephoned Plaintiff at Plaintiff's place of employment
numerous times between November 2008 and December 2008.

During at least one of these communications, Defendant failed to identify itself as a debt
collector.

During at least one of these communications, Defendant misrepresented itself as an agent of
the court.

Despite Plaintiff's notice, on or around December 4, 2008 Defendant telephoned Plaintiff at
Plaintiff's place of employment.

During this communication, Defendant falsely represented that Plaintiff could face jail time
if Plaintiff did not make a payment arrangement.

During this communication, Defendant falsely represented that Defendant had to call the
court that day to inform the court of Plaintiffs intentions.

Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

anxiety and stress.

Complaint - 2

 
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Case 2:09-cv-04231-SJO-PLA Document1 Filed 06/12/09 Page 3o0f9 Page ID#:3

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Defendant violated the FDCPA.

COUNT ONE
Violation of the Fair Debt Collection Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
Defendant violated 15 U.S.C. §1692c by calling Plaintiff at Plaintiff's place of employment
after Defendant knew or had reason to know that Plaintiff's employer prohibited Plaintiff
from receiving Defendant’s phone calls.
COUNT TWO
Violation of the Fair Debt Collection Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
Defendant violated 15 U.S.C. §1692c by calling Plaintiff at a time and/or place known to be
inconvenient for Plaintiff.
COUNT THREE

Violation of the Fair Debt Collection Practices Act

2. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

. Defendant violated 15 U.S.C. §1692d in that Defendant failed to meaningfully disclose its

identity during telephone communications with Plaintiff.
COUNT FOUR
Violation of the Fair Debt Collection Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
Defendant violated 15 U.S.C. §1692e in that Defendant failed to advise Plaintiff during

verbal communications that Defendant was a debt collector.

Complaint - 3

 
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Case 2:09-cv-04231-SJO-PLA Document1 Filed 06/12/09 Page 4of9 Page ID#:4

COUNT FIVE
Violation of the Fair Debt Collection Practices Act
26. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
27. Defendant violated 15 U.S.C. §1692e in that it falsely represented the character, amount,
and/or legal status of the debt.
COUNT SIX
Violation of the Fair Debt Collection Practices Act
28. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
29. Defendant violated 15 U.S.C. §1692e in that it threatened action that could not legally be
taken and/or that was not intended to be taken.
COUNT SEVEN
Violation of the Fair Debt Collection Practices Act
30. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
31. Defendant violated 15 U.S.C. §1692e by making misrepresentations during its
communications with Plaintiff.
COUNT EIGHT
Violation of the Fair Debt Collection Practices Act
32. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
33. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or
unconscionable means to collect the debt.
COUNT NINE
Violation of the Rosenthal Fair Debt Collection Practices Act

34. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

Complaint - 4

 
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In falsely representing to a Plaintiff that non-payment of the debt will result in the accusation
that Plaintiff committed a crime, Defendant violated California Civil Code §§ 1788.10(b).
COUNT TEN
Violation of the Rosenthal Fair Debt Collection Practices Act

Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
In falsely representing to Plaintiff the non-payment of the debt may result in legal action
against Plaintiff, Defendant violated California Civil Code §§ 1788.10(e).
COUNT ELEVEN
Violation of the Rosenthal Fair Debt Collection Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
In failing to disclose, during telephone communications, that Defendant was a collection
agency, Defendant violated California Civil Code §§ 1788.11(b).
COUNT TWELVE
Violation of the Rosenthal Fair Debt Collection Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
In communicating with Plaintiff at Plaintiff's place of employment for purposes other than
verifying employment, obtaining location information, or effectuating a garnishment,
Defendant violated California Civil Code §§ 1788.12(a).
COUNT THIRTEEN
Violation of the Rosenthal Fair Debt Collection Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
In falsely representing that a legal proceeding has been, or is about to be, or will be instituted
against Plaintiff unless payment of the debt was made, Defendant violated California Civil

Code §§ 1788.13()).

Complaint - 5

 
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Case 2:09-cv-04231-SJO-PLA Document1 Filed 06/12/09 Page 6of9 Page ID #:6

JURY DEMAND

44. Plaintiff demands a trial by jury.

PRAYER FOR RELIEF

45. Plaintiff prays for the following relief:

a.

Cc.

Judgment against Defendant for actual damages, statutory damages pursuant to 15
U.S.C. §1692k and costs, and reasonable attorney’s fees pursuant to 15 U.S.C.
§1692k.

Judgment against Defendant for actual damages pursuant to California Civil Code
§ 1788.30(a), statutory damages for a knowing or willful violation in an amount
up to $1,000 pursuant to California Civil Code § 1788.30(b); and reasonable
attorneys’ fees and costs pursuant to California Civil Code § 1788.30(c).

For such other legal and/or equitable relief as the Court deems appropriate.

RESPECTFULLY SUBMITTED,

Legal Helpers, Pi.

ay Hilal LL, 4—
Richard K. Gustafson ( 0. A93
233 S. Wacker Drive, Spite 5

Chicago, IL 60606

Tel: 1.866.339.1156

Fax: 1.312.822.1064

Email: rkg@legalhelpers.com
Attorney for Plaintiff

Complaint - 6

 
Case 2:09-cv-04231-SJO-PLA Document1 Filed 06/12/09 Page 7of9 Page ID#:7

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge S. James Otero and the assigned discovery
Magistrate Judge is Paul L. Abrams.

The case number on all documents filed with the Court should read as follows:

CV09- 4231 SJO (PLAx)

Pursuant to General Order 05-07 of the United States District Court for the Central

District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:09-@)5OAAs $73.I@0shhérRROc avert LcHNedsGh12198c Page S1:akORMage ID #:8

CIVIL COVER SHEET

 

I (a) PLAINTIFFS (Check box if you are representing yourself 11)
Janya Johnson

(b) County of Residence of First Listed Plaintiff (Except in U.S. Plaintiff Cases):

Orange

DEFENDANTS
Delanor, Kemper & Associates, LLC

County of Residence of First Listed Defendant (In U.S. Plaintiff Cases Only):

 

(c) Attorneys (Firm Name, Address and Telephone Number. If you are representing

yourself, provide same.)
Legal Helpers, P.C. 233 S. Wacker Dr., Ste 5150
Chicago. IL 60606 866-339-1156

 

Attorneys (If Known)

 

Il. BASIS OF JURISDICTION (Place an X in one box only.)

0 1 US. Government Plaintiff 3 Federal Question (U.S.
Government Not a Party)

O12 US. Government Defendant 0) 4 Diversity (Indicate Citizenship
of Parties in Item II)

 

Ill. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

Citizen of This State

Citizen of Another S

PTF
Ol

tate O2

Citizen or Subject of a Foreign Country 013

DEF PTF DEF
O11 Incorporated or Principal Place O4 O4
of Business in this State

12 Incorporated and Principal Place O15 O35
of Business in Another State

O13 Foreign Nation O06 O86

 

IV. ORIGIN (Place an X in one box only.)

I Original (2 Removed from 13 Remandedfrom O14 Reinstatedor O15 Transferred from another district (specify): [1 6 Multi- O17 Appeal to District
Proceeding State Court Appellate Court Reopened

District Judge from
Litigation Magistrate Judge

 

¥. REQUESTED IN COMPLAINT: JURY DEMAND: WYes 0 No (Check ‘Yes’ only if demanded in complaint.)
i MONEY DEMANDED IN COMPLAINT: $_!0,000.00

CLASS ACTION under F.R.C.P. 23: OYes No

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
15 USC 1692 Violations of the Fair Debt Collection Practices Act

 

VHi. NATURE OF SUIT (Place an X in one box only.)

 

  

 

   

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00 State Reapportionment |0 110 Insurance
0410 Antitrust 0 120 Marine 0310
0 430 Banks and Banking 0 130 Miller Act 01315
0) 450 Commerce/ICC 0 140 Negotiable Instrument
Rates/etc. [150 Recovery of 0 320
0 460 Deportation Overpayment &
(10470 Racketeer Influenced Enforcement of 0 330
and Corrupt Judgment
Organizations 00151 Medicare Act 0 340
0 480 Consumer Credit 0152 Recovery of Defaulted |0 345
(490 Cable/Sat TV Student Loan (Excl.
(810 Selective Service Veterans) 0350
0 850 Securities/Commodities | 153 Recovery of 01355
/Exchange Overpayment of
0 875 Customer Challenge 12 Veteran’s Benefits 0 360
USC 3410 0 160 Stockholders’ Suits
890 Other Statutory Actions |0 190 Other Contract 0362
0 891 Agricultural Act 01195 Contract Product
D 892 Economic Stabilization Liability 0365

Act (1196 Franchise
0 893 Environmental Matters | = >ROPERT
0 894 Energy Allocation Act {10210 Land Condemnation
0 895 Freedom of Info. Act 0 220 Foreclosure
[1900 Appeal of Fee Determi- | 230 Rent Lease & Ejectment
nation Under Equal 0 240 Torts to Land
Access to Justice 0 245 Tort Product Liability
0) 950 Constitutionality of 290 All Other Real Property
State Statutes

   
      

 

 

PERSONAL INJURY

Airplane
Airplane Product
Liability
Assault, Libel &
Slander

Fed. Employers”
Liability

Marine

Marine Product
Liability

Motor Vehicle
Motor Vehicle
Product Liability
Other Personal
Injury

Personal Injury-
Med Malpractice
Personal Injury-
Product Liability
Asbestos Personal
Injury Product
Liability

 

  
    

PERSONAL

 
   

 

[710 Fair Labor Standards

 

PROPERTY. 0 510 Motions to Act
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(0371 Truth in Lending Habeas Corpus Relations
0 380 Other Personal j{0) 530 General 11730 Labor/Mgmt.
Property Damage |X 535 Death Penalty Reporting &
(1385 Property Damage |D0 540 Mandamus/ Disclosure Act
Product Liability Other 0 740 Railway Labor Act

    

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0550 Civil Rights 790 Other Labor

01422 Appeal 28 USC JO 555 Prison Condition Litigation

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Employment 11 625 Drug Related

Empl. Ret. Inc.
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Agriculture

Other Food & 0 820 Copyrights

Drug O 830 Patent

Seizure of

Property 21 USC

881 0 862 Black Lung (923)

01 445 American with |01 630 Liquor Laws 0 863 DIWC/DIWW
Disabilities - 0 640 R.R. & Truck (405(g))
Employment (1650 Airline Regs Di 864 SSID Title XVI

(0446 American with {() 660 Occupational 0865 RSI (405(g))

Disabilities - Safety /Health FEDERAL TAX SUITS
Other 0 690 Other 0870 Taxes (U.S. Plaintiff
0 440 Other Civil or Defendant)
Rights O 871 IRS-Third Party 26
USC 7609

 

 

 

VITI(a). IDENTICAL CASES: Has this action been previously filed and dismissed, remanded or closed? No O Yes

If yes, list case number(s):

 

FOR OFFICE USE ONLY: — Case Number: CV09-04231 SJO (PLAx)

 

“V-71 (07/05)

CIVIL COVER §

HEET
Case 2:09-OwP43897SIDsRUATREOCOMeERT cHNInOIeTRaC Page MLaFERMage ID #:9

CIVIL COVER SHEET
AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

VIII(b). RELATED CASES: Have any cases been previously filed that are related to the present case? MNo OYes

 

If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) OA. Arise from the same or closely related transactions, happenings. or events: or
OB. Call for determination of the same or substantially related or similar questions of law and fact; or
OC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: List the California County, or State if other than California, in which EACH named plaintiff resides (Use an additional sheet if necessary)
0 Check here if the U.S. government, its agencies or employees is a named plaintiff.
Orange

List the California County, or State if other than California, in which EACH named defendant resides. (Use an additional sheet if necessary).
O Check here if the U.S. government, its agencies or employees is a named defendant.
Georgia

List the California County, or State if other than California, in which EACH claim arose. (Use an additional sheet if necessary)
Note: In land condemnation cases, use the location of the tract of land involved.
Orange

 

X. SIGNATURE OF ATTORNEY (OR PRO PER): Mba fol lLa>r—> Date b/jof oF

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the infofmatio: Fontainegerein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conferegce ofthe United States in September 1974, is required pursuant to Local Rule 3-1 is not
filed but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions
sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act. as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social
Security Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

 

CV-71 (07/05) CIVIL COVER SHEZT Page 2 ¢
